          Case 4:15-cr-06010-EFS           ECF No. 120         filed 09/06/16     PageID.263 Page 1 of 2
O PS 8
(3/15)


                              UNITED STATES DISTRICT COURT
                                                             for
                                            Eastern District of Washington


U.S.A. vs.                     Carmona, Eduardo                          Docket No.           0980 4:15CR06010-002


                                 Petition for Action on Conditions of Pretrial Release

        COMES NOW Curt Hare, PRETRIAL SERVICES OFFICER presenting an official report upon the conduct of
defendant Eduardo Carmona, who was placed under pretrial release supervision by the Honorable U.S. Magistrate Judge
John T. Rodgers sitting in the court at Spokane, Washington, on the 15 day of January 2016, under the following conditions:

Condition #1: Defendant shall not commit any offense in violation of federal, state or local law. Defendant shall advise
the supervising Pretrial Services Officer and defense counsel within one business day of any charge, arrest, or contact with
law enforcement. Defendant shall not work for the United States government or any federal or state law enforcement agency,
unless Defendant first notifies the supervising Pretrial Services Officer in the captioned matter.

         RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:
                      (If short insert here; if lengthy write on separate sheet and attach.)

Violation #1: On August 18, 2016, Eduardo Carmona was arrested and charged with Assault 4th Degree (Domestic
Violence), Interfering with reporting domestic violence and Malicious Mischief, 3rd Degree.


                             PRAYING THAT THE COURT WILL ISSUE A SUMMONS

                                                                          I declare under the penalty of perjury
                                                                          that the foregoing is true and correct.
                                                                          Executed on:       September 6, 2016
                                                                   by     s/Curtis G. Hare
                                                                          Curtis G. Hare
                                                                          U.S. Pretrial Services Officer
         Case 4:15-cr-06010-EFS         ECF No. 120      filed 09/06/16      PageID.264 Page 2 of 2
  PS-8
  Re: Carmona, Eduardo
  September 6, 2016
  Page 2



THE COURT ORDERS

[ ]      No Action
[ ]      The Issuance of a Warrant
[ X]     The Issuance of a Summons
[ ]      The incorporation of the violation(s) contained in this
         petition with the other violations pending before the
         Court.
[ ]      Defendant to appear before the Judge assigned to the case.
[ ]      Defendant to appear before the Magistrate Judge.
[ ]      Other


                                                                      Signature of Judicial Officer
                                                                       September 6, 2016
                                                                      Date
